 1   Darren R. Krattli, WSBA No. 39128                          HONORABLE WHITMAN L. HOLT
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 4

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 6

 7                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
 8

 9   In re:                                                NO. 24-01519-WLH 1

10                                                         NOTICE OF APPEARANCE
     1 MIN LLC; HOTEL AT SOUTHPORT LLC;
11   and TWELFTH FLOOR, LLC,
12                                    Debtors.
13
     TO:                   CLERK OF THE COURT
14   AND TO:               JAMES L. DAY and JASON E. WAX of BUSH STROUT & KORNFELD,
                           Attorneys for Debtors
15   AND TO:               UNITED STATES TRUSTEE
     AND TO:               ALL OTHER PARTIES REQUESTING NOTICE
16
                 PLEASE TAKE NOTICE that the undersigned attorneys, Darren R. Krattli of
17

18   EISENHOWER CARLSON PLLC, as local counsel, and Thomas S. Kiriakos (pro hac vice

19   admission pending), Craig E. Reimer (pro hac vice admission pending), and Danielle A. Sigal
20   (pro hac vice admission pending), of MAYER BROWN LLP, hereby make their appearance in
21
     this action as attorneys for Creditor WF CREL 2020 GRANTOR TRUST. All future notices,
22
     motion, papers and pleadings filed herein, except original process, are to be served upon the
23
     undersigned at the address below.
24

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26   1
      As the proposed lead case for the jointly administered case nos. 24-01519, 24-01520, and 24-
     01521.
     NOTICE OF APPEARANCE - 1
     22305-1/DRK/1186340




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 1                                            Darren R. Krattli
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                             Thomas S. Kiriakos (pro hac vice admission pending)
 6                            Craig E. Reimer (pro hac vice admission pending)
                                          MAYER BROWN LLP
 7                                            71 S. Wacker Dr.
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 8                                       Telephone: (312) 782-0600
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                                        CReimer@mayerbrown.com
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                              Danielle A. Sigal (pro hac vice admission pending)
11                                          MAYER BROWN LLP
                                        1221 Avenue of the Americas
12                                       New York, New York 10020
                                          Telephone: (212) 506-2500
13                                     Email: DSigal@mayerbrown.com
14               DATED this 23rd day of September, 2024.
15                                                    EISENHOWER CARLSON PLLC
16
                                                      /s/ Darren R. Krattli
17                                                    Darren R. Krattli, WSBA No. 39128
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19                                                    Telephone: (253) 572-4500
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20                                                    E-Mail: DKrattli@Eisenhowerlaw.com
21                                                    and
22                                                    MAYER BROWN LLP
23                                                    Thomas S. Kiriakos (pro hac vice admission
                                                      pending)
24                                                    Craig E. Reimer (pro hac vice admission
                                                      pending)
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     NOTICE OF APPEARANCE - 2
     22305-1/DRK/1186340




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 2
                                                and
 3
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 4                                              pending)
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 7                                              Counsel to WF CREL 2020 GRANTOR
                                                TRUST
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     NOTICE OF APPEARANCE - 3
     22305-1/DRK/1186340




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